       Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 1 of 14                             FILED
                                                                                          2019 Apr-01 PM 01:36
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

JONES STEPHENS CORP,                           ]
                                               ]
       Plaintiff,                              ]
                                               ]
v.                                             ]    CIVIL ACTION NO.
                                               ]    2:17-CV-00748-KOB
COASTAL NINGBO HARDWARE                        ]
MANUFACTURING CO., LTD, et                     ]
al.,                                           ]
                                               ]
       Defendants.                             ]

                             MEMORANDUM OPINION

       Despite the tangled web of insurance coverage in this case, a relatively

simple question comes before the court: for which torts are Defendants plausibly

liable for allegedly incorporating a void exclusion into liability insurance policies?

       Defendants Great American E&S Insurance Co., New Century Insurance

Services, Inc., and AmWINS Insurance Brokerage of California, LLC filed Rule

12(b)(6) motions to dismiss five of nine counts in Plaintiff Jones Stephens’s

amended complaint. (Docs. 75, 95, and 96, respectively). 1 Defendants contend

that Jones Stephens has not alleged that they plausibly committed the torts of civil

conspiracy, negligence or wantonness, or tortious interference with contract by

       1
         Defendant Coastal Ningbo Hardware Manufacturing Co., LTD also filed a motion to
dismiss. (Doc. 105). In its motion, Coastal Ningbo raises unique personal jurisdiction, service
of process, and Rule 12(b)(6) challenges, so the court will rule on Coastal Ningbo’s motion to
dismiss separately.

                                              1
       Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 2 of 14



allegedly modifying insurance policies to deny coverage to Jones Stephens for

products liability claims.

      For the following reasons, the court will DENY IN PART and GRANT IN

PART the motions to dismiss, after which the civil conspiracy claim against all

Defendants, the negligence and wantonness claim against Great American, and the

several claims the Defendants have not moved to dismiss will remain.

I.    STANDARD OF REVIEW

      A motion to dismiss challenges the legal sufficiency of a complaint. Under

Rule 12(b)(6) of the Federal Rules of Civil Procedure, a defendant can move to

dismiss a complaint for “failure to state a claim upon which relief can be granted.”

The complaint will survive the motion to dismiss if it alleges “enough facts to state

a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007).

      For a complaint to be “plausible on its face,” it must contain enough “factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

And the court accepts as true the factual allegations in the complaint. Id.

      But not all allegations can defeat a motion to dismiss. “[L]abels and

conclusions” and speculation “will not do.” Twombly, 550 U.S. at 555. So, the

court will look only at well-pled facts, and if those facts, accepted as true, state a


                                           2
       Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 3 of 14



plausible claim for relief, then the complaint will survive the motion to dismiss.

Iqbal, 556 U.S. at 678.

II.   FACTS

      Jones Stephens, an Alabama corporation, is a wholesale distributor of

plumbing products and sells primarily to wholesale resellers. It purchased several

products from Coastal Ningbo, a Chinese corporation, from June 2007 to August

2015 and sold those products in the United States.

      Jones Stephens required Costal Ningbo to maintain United States general

liability insurance policies for the products it sold to Jones Stephens as a condition

precedent for Jones Stephens’s purchases. Jones Stephens also required Coastal

Ningbo to name Jones Stephens as an additional insured party on those insurance

policies.

      Coastal Ningbo purchased general liability insurance policies for the

products it shipped to Jones Stephens from Great American. New Century and

AmWINS “were the insurance brokers and agents involved in negotiating the

insurance coverage.” (Doc. 68 at ¶ 4). From 2007 to 2015, Costal Ningbo

periodically sent Jones Stephens updates to its proof of insurance indicating good

standing and Jones Stephens’s status as an additional insured under the Great

American policies.

      Jones Stephens also alleges that it and Coastal Ningbo had a written contract


                                          3
       Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 4 of 14



under which Coastal Ningbo agreed to defend and indemnify Jones Stephens

against claims arising out of Jones Stephens’s distribution of Coastal Ningbo’s

products.

      In August 2015, Jones Stephens stopped buying Coastal Ningbo’s products.

Then, according to Jones Stephens, Coastal Ningbo repudiated its obligation to

defend and indemnify Jones Stephens from liability arising out of Coastal

Ningbo’s products. (Doc. 68 at ¶ 31). Jones Stephens also alleges that all

Defendants worked together to incorporate an exclusion into the Great American

insurance policies, made effective retroactively as of the policies’ commencement

dates, that excluded coverage for claims arising on or after June 26, 2015. (Id. at

¶¶ 32–33). According to Jones Stephens, “[t]his exclusion creates inherent

ambiguities in the applicable policies, is void as a matter of law, and violates

public policy.” (Id. at ¶ 34). And Jones Stephens alleges that, after incorporating

the exclusion, “Great American, counter to its obligation under its policies, without

any reasonable basis, and absent any arguable reason, has systematically and

continually denied Plaintiff’s request for defense and indemnification for claims

involving Coastal Ningbo’s products.” (Id. at ¶ 35).

      Relying on these factual allegations, Jones Stephens brings nine counts in its

amended complaint: (1) declaratory judgment that Great American is obligated to

defend and indemnify Jones Stephens; (2) bad faith against Great American for


                                          4
       Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 5 of 14



endorsing the exclusion and denying Jones Stephens’s claims; (3) breach of

contract against Coastal Ningbo for refusing to defend and indemnify Jones

Stephens; (4) common law indemnity against Coastal Ningbo for a specific product

that it sold to Jones Stephens; (5) civil conspiracy against all Defendants for

conspiring to modify the insurance policies; (6) negligence and wantonness against

Great American, New Century, and AmWINS for breaching their duty of care

owed to Jones Stephens by modifying the insurance policies; (7) negligent failure

to procure insurance against New Century and AmWINS; (8) unjust enrichment

against Great American, New Century, and AmWINS for the insurance premiums

Jones Stephens paid; and (9) tortious interference with contract against all

Defendants for depriving Jones Stephens of its contractual rights to defense and

indemnification from Coastal Ningbo and Great American.

       Great American, New Century, and AmWINS have moved the court to

dismiss counts five through nine under Rule 12(b)(6) of the Federal Rules of Civil

Procedure. So the court turns next to whether the amended complaint states a

plausible claim for relief under those counts.

III.   ANALYSIS

       A.    Count Five - Civil Conspiracy

       First, Jones Stephens brings a claim for civil conspiracy against all

Defendants, alleging that Defendants “conspired with one another for the issuance


                                           5
         Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 6 of 14



of an exclusion that is unlawful and/or which violates public policy.” (Doc. 68 at

¶ 78).

         To state a claim for civil conspiracy under Alabama law, a plaintiff must

allege “a combination between two or more persons to accomplish by concert an

unlawful purpose or to accomplish by unlawful means a purpose not itself

unlawful.” Webb v. Renfrow, 453 So. 2d 724, 727 (Ala. 1984) (citing Barber v.

Stephenson, 69 So. 2d 251 (Ala. 1954)). Fundamentally, “liability for civil

conspiracy rests upon the existence of an underlying wrong and if the underlying

wrong provides no cause of action, then neither does the conspiracy.” Jones v. BP

Oil Co., 632 So. 2d 435, 439 (Ala. 1993) (citing Allied Supply Co. v. Brown, 585

So. 2d 33 (Ala. 1991), and Webb v. Renfrow, 453 So. 2d 724 (Ala. 1984)).

         Here, Defendants contend that Jones Stephens has failed to state a claim for

civil conspiracy because it has not alleged an underlying wrong that gives rise to a

cause of action for conspiracy. The court disagrees.

         Jones Stephens alleges the tort of bad faith as the underlying wrong. (See

Doc. 68 at 12–13, 17–18). Jones Stephens contends that Great American acted in

bad faith by manufacturing a reason to deny Jones Stephens’s claims with the

allegedly void retroactive exclusion. These allegations can support a viable bad

faith claim under Alabama law and no Defendant has moved to dismiss the bad

faith claim. See Singleton v. State Farm Fire & Cas. Co., 928 So. 2d 280, 283


                                           6
        Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 7 of 14



(Ala. 2005) (recognizing bad faith claim against insurer when it, for example,

“manufacture[s ] a debatable reason to deny a claim, or [] reli[es] on an ambiguous

portion of a policy as a lawful basis for denying a claim”) (citing State Farm Fire

& Casualty Co. v. Slade, 747 So. 2d 293, 306–07 (Ala.1999)); Gulf Atl. Life Ins.

Co. v. Barnes, 405 So. 2d 916, 924 (Ala. 1981) (“Bad faith, then, is not simply bad

judgment or negligence. It imports a dishonest purpose and means a breach of

known duty, i.e., good faith and fair dealing, through some motive of self-interest

or ill will.”). And Jones Stephens alleges that the Defendants conspired together to

draft and incorporate the retroactive exclusion underlying its bad faith claim.

(Doc. 68 at ¶¶ 32, 78). So Jones Stephens states a plausible claim for civil

conspiracy.

        For these reasons, the court will deny Defendants’ motions to dismiss count

five.

        B.    Count Six - Negligence and Wantonness

        Next, Jones Stephens alleges that Defendants breached their duties “to

exercise reasonable skill, care and diligence in the issuance and modification of

policies intended to benefit Plaintiff” and “to provide notice to Plaintiff of any

changes or modification to those policies” by “modifying the subject policies and

further fail[ing] to provide Plaintiff with the requisite notice of changes to those

policies.” (Doc. 68 at ¶¶ 84–86).


                                           7
       Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 8 of 14



      Defendants contend that Jones Stephens has failed to state a claim for

negligence and wantonness because Jones Stephens has not alleged a duty that any

Defendant owed to it. For the following reasons, the court disagrees as to Great

American, but agrees as to New Century and AmWINS.

      As to Great American, as an insurer, the law imposed on it “a duty . . . to act

honestly and in good faith in its dealings with its insured.” Carrier Exp., Inc. v.

Home Indem. Co., 860 F. Supp. 1465, 1478 (N.D. Ala. 1994). And Jones Stephens

alleges that it was an additional insured party under the Great American insurance

policies covering Coastal Ningbo’s products. So Jones Stephens has sufficiently

alleged that Great American owed it the duty of honesty and good faith.

      And Jones Stephens has sufficiently alleged that Great American breached

that duty. An insurer breaches its duty owed to its insured and is liable for

negligence if it “fail[s] to do what a reasonably prudent insurance company would

have done under the same or similar circumstances or [does] something which a

reasonably prudent insurance company would not have done under the same or

similar circumstances . . . .” Carrier Exp., 860 F. Supp. at 1479 (quotation

omitted).

      And it is liable for wantonness if it breaches that duty with “conscious

knowledge” of the probable damages to its insured. See Mazda Motor Corp. v.

Hurst, --- So. 3d ---, 2017 WL 2888857, at *16 (Ala. July 7, 2017); see also


                                          8
       Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 9 of 14



Carrier Exp., 860 F. Supp. at 1484 (upholding jury verdict that the insurer’s “bad

faith conduct was clearly and convincingly established as wanton, oppressive, and

malicious” for refusing to settle claims against the insured).

      Here, Jones Stephens alleges that Great American incorporated the void

retroactive exclusion into its insurance policies to avoid liability for claims against

Jones Stephens that Great American would otherwise have to cover. This

allegation plausibly states a failure to do what a reasonably prudent insurance

company would have done under the same or similar circumstances with

knowledge that Jones Stephens would probably be damaged by losing insurance

coverage. So Jones Stephens states a plausible claim for negligence and

wantonness against Great American.

      On the other hand, Jones Stephens alleges no factual basis for New

Century’s and AmWINS’s duty. The amended complaint only vaguely states that

“Am[WINS] . . . and New Century . . . were the insurance brokers and agents

involved in negotiating the insurance coverage made the basis of this action and

negotiating the exclusion which ultimately forms the basis of this action.” (Doc.

68 at ¶ 4). Relying only on this fact, Jones Stephens reaches the legal conclusion

that New Century and AmWINS owed it a duty to exercise reasonable care “in the

issuance and modification of policies intended to benefit Plaintiff” and a duty “to

provide notice to Plaintiff of any changes or modifications to those policies.” (Id.


                                           9
      Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 10 of 14



at 84–85).

      But these conclusory allegations are not facts. Jones Stephens does not

allege how New Century and AmWINS were “involved”; how their role involved

issuing, modifying, or notifying Jones Stephens; or the existence of any

relationship to Jones Stephens. So Jones Stephens leaves the court to speculate as

to how New Century and AmWINS owed Jones Stephens any duty. Because

speculation cannot defeat a motion to dismiss, the court will grant the motions to

dismiss count six as to New Century and AmWINS.

      C.     Count Seven - Negligent/Wanton Procurement

      Jones Stephens next alleges that New Century and AmWINS “negligently

and/or wantonly failed to exercise reasonable skill, care and diligence when

procuring the policies at issue.” (Doc. 68 at ¶ 94). This claim fails for the same

reason count six against New Century and AmWINS fails: Jones Stephens alleges

no factual basis for New Century’s or AmWINS’s duty.

      Alabama law recognizes a specific cause of action against an insurance

agent or broker for negligent or wanton procurement of insurance when, “[o]nce

the parties have come to an agreement on the procurement of insurance, the agent

or broker [fails to] exercise reasonable skill, care, and diligence in effecting

coverage.” Montz v. Mead & Charles, Inc., 557 So. 2d 1, 4 (Ala. 1987) (quotations

and citations omitted). Here, Jones Stephens alleges no agreement—or any


                                           10
      Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 11 of 14



relationship—between it and New Century and AmWINS. So, again, Jones

Stephens relies only on its conclusory allegation that New Century and AmWINS

owed it a duty of reasonable care. Because conclusory allegations cannot defeat a

motion to dismiss, the court will grant the motions to dismiss count seven.

      D.     Count Eight - Unjust Enrichment

      Jones Stephens has stipulated to the dismissal of its unjust enrichment claim,

so the court will grant Defendants’ motions to dismiss count eight. (See Doc. 85 at

10; Doc. 104 at 10).

      E.     Count Nine - Tortious Interference With Contract

      Finally, Jones Stephens alleges that all Defendants, with the intent to deprive

Jones Stephens of its contractual rights and benefits, interfered with two contracts

involving Jones Stephens: (1) the Great American insurance policies under which

Jones Stephens was an additional insured; and (2) the indemnity agreement

between Jones Stephens and Coastal Ningbo. (Doc. 68 at ¶¶ 109–10).

      Under Alabama law, to establish a claim for tortious interference with a

contract, the plaintiff must prove (1) the existence of a contract; (2) the defendant’s

knowledge of the contract; (3) that “the defendant is independent of or a stranger to

the relation or contract”; (4) the defendant’s intentional interference with the

contract; and (5) damages as a result of the defendant’s interference. MAC East,

LLC v. Shoney’s, 535 F.3d 1293, 1297 (11th Cir. 2008).


                                          11
      Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 12 of 14



      Under the third element of a tortious interference claim, a defendant is not a

stranger to a contract if “the defendant would benefit economically from the

alleged injured relations[] or [] both the defendant and the plaintiff are parties to a

comprehensive interwoven set of contract[s] or relations.” MAC East, 535 F.3d at

1297 (quoting Waddell & Reed, Inc. v. United Investors Life Ins. Co., 875 So. 2d

1143, 1156 (Ala. 2003)).

      The Alabama Supreme Court has explained when a non-party to a contract is

a “participant” who cannot be considered a stranger to the contract:

      For the sake of clarity, we adopt the term “participant” to describe an
      individual or entity who is not a party, but who is essential, to the
      allegedly injured relationship and who cannot be described as a
      stranger. One cannot be guilty of interference with a contract even if
      one is not a party to the contract so long as one is a participant in a
      business relationship arising from interwoven contractual
      arrangements that include the contract. In such an instance, the
      participant is not a stranger to the business relationship and the
      interwoven contractual arrangements define the participant’s rights
      and duties with respect to the other individuals or entities in the
      relationship. If a participant has a legitimate economic interest in and
      a legitimate relationship to the contract, then the participant enjoys a
      privilege of becoming involved without being accused of interfering
      with the contract.

Waddell & Reed, 875 So. 2d at 1157 (emphasis added). In addition, a non-party

that “was involved in creating th[e] relationship” between the parties to a contract

“cannot be a stranger to the business relationship.” Tom’s Foods, Inc. v. Carn, 896

So. 2d 443, 455 (Ala. 2004).

      Here, Jones Stephens’s tortious interference claim fails because no

                                           12
      Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 13 of 14



Defendant was a stranger to the contracts at issue in this case. For the following

reasons, every Defendant had a legitimate economic interest in and a legitimate

relationship to the two alleged contracts.

      First, as to the Great American insurance policies, New Century and

AmWINS allegedly played some part in negotiating those policies and the

exclusion incorporated into the policies. And Great American, of course, is a party

to the insurance policies. So no Defendant is a stranger to the Great American

policies.

      Second—as to the alleged indemnity agreement between Jones Stephens and

Coastal Ningbo—Great American, New Century, and AmWINS are all part of “a

business relationship arising from interwoven contractual arrangements” that

includes the indemnity agreement. See Waddell & Reed, 875 So. 2d at 1157. New

Century and AmWINS “were the insurance brokers and agents involved in

negotiating the insurance coverage”; Great American provided the insurance

coverage; the insurance policies covered Coastal Ningbo’s products sold to Jones

Stephens; and the indemnity agreement covered those same products. So, Coastal

Ningbo’s failure to perform under the indemnity agreement would affect Great

American’s potential liability under policies negotiated by New Century and

AmWINS, and the Defendants allegedly incorporated the exclusion into the

policies to avoid potential liability. So each Defendant had a legitimate


                                             13
      Case 2:17-cv-00748-KOB Document 114 Filed 04/01/19 Page 14 of 14



relationship to and a legitimate interest in the indemnity agreement.

      Jones Stephens does not allege any facts showing that any Defendant was a

stranger to the Great American insurance policies or the Coastal Ningbo indemnity

agreement. So Jones Stephens’s tortious interference with contract claim fails as a

matter of law and the court will grant the motions to dismiss count nine.

IV.   CONCLUSION

      By separate order, the court will DENY IN PART and GRANT IN PART

the motions to dismiss.

      Specifically, the court will DENY the motions to dismiss as to (1) Count

Five for civil conspiracy against Great American, New Century, and AmWINS;

and (2) Count Six for negligence and wantonness against Great American.

      The court will GRANT the motions to dismiss as to (1) Count Six for

negligence and wantonness against New Century and AmWINS; (2) Count Seven

for negligent and wanton failure to procure insurance against New Century and

AmWINS; (3) Count Eight for unjust enrichment against Great American, New

Century, and AmWINS; and (4) Count Nine for tortious interference with contract

against Great American, New Century, and AmWINS.

      DONE and ORDERED this 1st day of April, 2019.


                                       ____________________________________
                                       KARON OWEN BOWDRE
                                       CHIEF UNITED STATES DISTRICT JUDGE

                                         14
